                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                              Plaintiff,

       v.                                           Case No.              20-CR-33

KIMBERLY ZULKOWSKI,

                              Defendant.


                                     PLEA AGREEMENT


      1.       The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Matthew L. Jacobs, Assistant United States

Attorney, and the defendant, Kimberly Zulkowski, individually and by attorney Daniel S. Welytok,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following plea

agreement:

                                           CHARGES

      2.       The defendant has been charged in a one-count information that alleges a violation

of Title 26, United States Code, Section 7202.

      3.       The defendant has read and fully understands the charge contained in the

information. She fully understands the nature and elements of the crime with which she has been

charged, and the charge and the terms and conditions of the plea agreement have been fully

explained to her by her attorney.

      4.       The defendant voluntarily agrees to waive prosecution by indictment in open court.




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